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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order = wwrosures

POSTAL SERVICET

 

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator informatjon for investigating possible missing or delayed

 

 

 

 

 

Political and/or Election Mail. District: Ch) ei LHY [e ¢ (FO Name: fics oO
/) S by 20 _ 2 2
Title: YY >? Phone #: 610 GO C- ste
Comments:

Check box | Section/Operation:

Specifics: include copies of PMOD label and /or
when checked Defines the work area to be searched. P a pies of oo, /
container placard. Names of individuals contacted

 

Incoming dock

 

BMEU & BMEU Plant ray
{¢ {lie ite aa
Opening units“ g PIT 3 GopZd, SRA >
2? il Oo all 2 Collets Pal OLem

AO / Station dispatch area ‘ “ae ke

 

 

 

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

 

MTE Plant Staging Area

 

MITE trailers

 

Site MTESC PIR

 

PARS Staging and Operations yl |

 

GAo0d0gsgq4q000 40

Rewrap Operations

 

CFS (if applicable) yy /; pp

 

glo

BRM/Postage Due

 

 

 

 

 

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